Case 2:12-cr-00478-JAD-VCF   Document 263   Filed 11/12/14   Page 1 of 8
Case 2:12-cr-00478-JAD-VCF   Document 263   Filed 11/12/14   Page 2 of 8
Case 2:12-cr-00478-JAD-VCF   Document 263   Filed 11/12/14   Page 3 of 8
Case 2:12-cr-00478-JAD-VCF   Document 263   Filed 11/12/14   Page 4 of 8
Case 2:12-cr-00478-JAD-VCF   Document 263   Filed 11/12/14   Page 5 of 8
Case 2:12-cr-00478-JAD-VCF   Document 263   Filed 11/12/14   Page 6 of 8
Case 2:12-cr-00478-JAD-VCF   Document 263   Filed 11/12/14   Page 7 of 8
Case 2:12-cr-00478-JAD-VCF   Document 263   Filed 11/12/14   Page 8 of 8
